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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

  NETLIST, INC.,                                    §
                                                    §
               Plaintiff,                           §       CIVIL ACTION NO. 2:22-cv-203-JRG-RSP
                                                    §
  v.                                                §
                                                    §
  MICRON TECHNOLOGY, INC. et al.,                   §
                                                    §
               Defendants.                          §

                                REPORT & RECOMMENDATION

        Before the Court is the Motion to Stay Pending Resolution of Inter Partes Review of the

 Asserted Patents filed by Defendants Micron Semiconductor Products Inc., Micron Technology

 Texas LLC, and Micron Technology, Inc. Dkt. No. 80. Having heard arguments at a recent hearing

 and considered the briefing, the Court recommends that the Motion be DENIED.

                                       I.   BACKGROUND

        Netlist’s Complaint originally asserted six patents, U.S. Patent Nos. 10,860,506;

 10,949,339; 11,016,918; 11,232,054; 8,787,060; and 9,318,160. Dkt. No. 1; Dkt. No. 80 at 6. Prior

 to the instant lawsuit, IPR petitions were filed on all six asserted patents by a third-party. Dkt. No.

 80 at 6. Micron filed motions to join the IPRs. Id. at 7. The PTAB issued final written decisions

 for the ’506 Patent on October 17, 2023, and for the ’339 Patent on October 18, 2023. Dkt. No.

 246 at 1. Netlist has since dropped the ’506 and ’339 Patents from this case. See Dkt. No. 406 at

 108; Dkt. No. 250. Additionally, the PTAB has issued final written decisions for the ’054 Patent,

 on December 5, 2023, and for the ’918 Patent on December 6, 2023. Dkt. No. 345 at 1; see

 Samsung Elecs. Co. Ltd., et. al. v. Netlist, Inc., IPR2023-00999, Paper 51 (PTAB Dec. 5, 2023);

 Samsung Elecs. Co. Ltd., et. al. v. Netlist, Inc., IPR2023-00996, Paper 49 (PTAB Dec. 6, 2023).



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 Petitions have been instituted for the remaining patents and Micron represents that they anticipate

 a final written decision on the ’060 and ’160 Patents by April 12, 2024. Dkt. No. 348 at 1–2.

        A hearing was held on December 20, 2023, and argument was heard regarding the Motion

 to Stay. Dkt. No. 399; Dkt. No. 406 at 107–122. Trial is currently set to begin on January 22, 2024.

 Dkt. No. 243.

                                  II.     LEGAL STANDARD

        “The party seeking a stay bears the burden of showing that such a course is appropriate.”

 Peloton Interactive, Inc. v. Flywheel Sports, Inc., No. 218-cv-390-RWS-RSP, 2019 WL 3826051,

 at *1 (E.D. Tex. Aug. 14, 2019) (quoting Realtime Data, LLC v. Hewlett Packard Enter. Co., No.

 6:16-cv-86-RWS-JDL, 2017 WL 3712916, at *3 (E.D. Tex. Feb. 3, 2017)); accord Landis v. N.

 Am. Co., 299 U.S. 248, 255 (1936). District courts have the power to stay proceedings as part of

 their inherent power to control their own dockets. Pers. Audio LLC v. Google, Inc., 230 F. Supp.

 3d 623, 626 (E.D. Tex. 2017) (citing ThinkOptics, Inc. v. Nintendo, No. 6:11-cv-455-LED, 2014

 WL 4477400, at *1 (E.D. Tex. Feb. 27, 2014)); accord Clinton v. Jones, 520 U.S. 681, 706 (“The

 District Court has broad discretion to stay proceedings as an incident to its power to control its

 own docket.”) (citing Landis, 299 U.S. at 254).

        District courts typically consider three factors when deciding whether to stay litigation

 pending IPR of the asserted patent(s): “(1) whether the stay will unduly prejudice the nonmoving

 party, (2) whether the proceedings before the court have reached an advanced stage, including

 whether discovery is complete and a trial date has been set, and (3) whether the stay will simplify

 issues in question in the litigation.” Trover Grp., Inc. v. Dedicated Micros USA, No. 2:13-CV-

 1047-WCB, 2015 WL 1069179, at *2 (E.D. Tex. Mar. 11, 2015) (collecting cases).




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                                        III.    ANALYSIS

             A. Prejudice to the Non-movant

          “Whether the patentee will be unduly prejudiced by a stay in the district court proceedings

 . . . focuses on the patentee’s need for an expeditious resolution of its claim.” VirtualAgility Inc. v.

 Salesforce.com, Inc., 759 F.3d 1307, 1318 (Fed. Cir. 2014) (emphasis in original). This concern

 is “present in every case in which a patentee resists a stay, and is therefore not sufficient, standing

 alone, to defeat a motion to stay.” NFC Tech, 2015 WL 1069111, at *2; see also Trover Grp., 2015

 WL 1069179, at *2 (collecting cases); VirtualAgility, 759 F.3d at 1319 (“A stay . . . only delays

 realization of [monetary] damages and delays any potential injunctive remedy”).

          The delay caused by a stay is especially burdensome where the parties are competitors in

 the marketplace. Invensys Sys., Inc. v. Emerson Elec. Co., No. 6:12–cv–799, 2014 WL 4477393,

 at *2 (E.D. Tex. July 25, 2014); Volstar, 2013 WL 4511290, at *2; accord SenoRx, Inc. v. Hologic,

 Inc., No. 12–cv–173, 2013 WL 144255, at *7 (D. Del. Jan. 11, 2013) (“Courts have recognized

 that when the parties are direct competitors, there is a reasonable chance that delay in adjudicating

 the alleged infringement will have outsized consequences to the party asserting infringement has

 occurred, including the potential for loss of market share and an erosion of goodwill.”); Verinata

 Health, Inc. v. Ariosa Diagnostics, Inc., No. 3:12–cv–05501, Doc. No. 108 at 6 (N.D. Cal. Jan. 13,

 2014).

          Micron asserts that a stay is not prejudicial “because it will not diminish Netlist’s monetary

 damages. Dkt. No. 80 at 9. Netlist responds that the stay could delay the trial for at least two years

 due to appeals. Dkt. No. 94 at 9. Further, Netlist asserts that prejudice is not limited to monetary

 damages since the parties are competitors in the marketplace. Dkt. No. 94 at 9–10.




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        The Court finds that the potential prejudice weighs against a stay. A delay in the

 proceedings would be prejudicial to Netlist as a direct competitor to Micron. Further, the process

 could be further extended if either party appeals the PTAB's findings to the Federal Circuit. See

 35 U.S.C. § 141(c). Netlist has a well-established interest in the timely enforcement of its patent

 rights. See Voltstar Techs., Inc. v. Superior Commc'ns, Inc., No. 2:12–cv–082, 2013 WL 4511290,

 at *2 (E.D.Tex. Aug. 22, 2013).

            B. Stage of the Case

        The Court finds that the late stage of the case weighs against instituting a stay. While the

 Court typically assesses the stage of the case from the date of filing, here the unique disposition of

 the ongoing IPR proceedings demonstrates a need to assess the current stage of the case instead.

 As discussed above, the case is on the eve of trial, a stay of the nature requested by Micron could

 delay the action for up to two years as all appeals are exhausted before the PTAB.

            C. Simplification

        Whether a stay “will result in simplification of the issues before a court is viewed as the

 most important factor when evaluating a motion to stay.” Uniloc USA, 2017 WL 2899690, at *3

 (citing Intellectual Ventures II LLC v. Kemper Corp., No. 6:16-cv-81-JRG, 2016 WL 7634422, at

 *2 (E.D. Tex. Nov. 7, 2016); NFC Tech., 2015 WL 1069111, at *4).

        Micron asserts that awaiting final decisions from the PTAB could simplify the case either

 due to invalidation of the asserted claims or through limited IPR estoppel pursuant to 35 U.S.C. §

 315(e)(2). Dkt. No. 80 at 10.

        Further simplification of the pending action would necessitate at a minimum a stay until

 April 12, 2024 if no appeals are sought. However, this is under the assumption that the pending

 IPRs will result in rulings of invalidity. The Court is unpersuaded to delay a case on the eve of



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 trial based on a possibility of invalidity rulings and is unconvinced that the alleged simplification

 outweighs the prejudice discussed above. Further, if invalidity is not found, Micron has asserted

 that estoppel is limited to art explicitly asserted in the petition. See Dkt. No. 80 at 10; Dkt. No. 406

 at 114–115. This form of estoppel carries a lesser likelihood of simplification of the issues on the

 two patents awaiting final written decisions. For these reasons, the Court finds that the factor

 weighs against a stay.

                                      IV.    CONCLUSION

         Having found that the factors weigh against a stay, the Court recommends that Micron’s

 Motion to Stay, Dkt. No. 80, be DENIED.
 .
       A party’s failure to file written objections to the findings, conclusions and

 recommendations contained in this report within 14 days bars that party from de novo review by

 the District Judge of those findings, conclusions, and recommendations and, except on grounds of

 plain error, from appellate review of unobjected-to factual findings and legal conclusions accepted

 and adopted by the district court. FED. R. CIV. P. 72(b)(2); see also Douglass v. United Servs. Auto.

 Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc). Any objection to this Report and

 Recommendation must be filed in ECF under the event “Objection to Report and Recommendation

 [cv, respoth]” or it may not be considered by the District Judge.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 3rd day of January, 2024.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE




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